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               IN    THE T'NITED STATES DISTRICT COURT FOR THE
                          SOUTHERN DISTRICT OF GEORGIA
                                                                                                  "ntf',fl[P,
                                STATESBORO DIVISION                                              ?0t5Jgi
                                                                                                      -3
 IJNTTED STATES OF AMERICA

                                                          *          cR 609-048-30

 MICHAEL       PAUL SANDERS




                                                  ORDER


         Before           the     Court      is     Defendant.          Michael        Paul       Sanders'

 motions      for        reconsideration            of the order            of February          f3,    20L5 '

 which       denied        his     motion         for     a    sentence       reduction          under      18

 U.S.C.       S 3582(c) (2)             b a s e d u p o n A m e n d m e n t .7 8 2 E o t h e           United

 States      Sentencing Guidelines.'

         On September I,                20!0,      Sanders was senEenced to 134 months

 imprisonment             upon his       conviction            on one count of conspiracy                   to

 possess with             intenL        to distribute               and to distribuEe             drugs     to

 include      cocaine            base    (crack         cocaine) .         Sanders'    offense          1eve1

 was determined              to be 32, yielding                 a guideline        range of            135 to

 168 months.                The Honorable                B.    Avant       Edenfield     conducted           a

 downward variance                 in    sentencinq            Sanders       !o   134 months.             His

 reason       for        doing     so is     offered           in    the    Statement       of     Reasons

 appended           to     the      Judgment             and    commitment         order.               Judge

 Edenfield          explains       :

         The court. is aware that on Augus! 3, 20f0, the Fair
         Sentencing    Act  of   2010 was signed    into  faw


         I
         This case was reass j-gned to the undersigned j udge on
 accounL of the death of tshe Honorable B Avant Edenfield.
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            mandat.ing an approximate 18:l- powder/crack      cocaine
            raEio in determining     t.he threshold   quantities    of
            those drugs required    to lrigger    cerLain  mandatory
            minimum terms     of  imprisonment '      The Act    also
            direct.s the united SEates Sentencing Commission to
            amend the advisory sentencing guidelines      to account
            for thaL 18;1 ration,     Although the Commission has
            n . t t - \/ e/ au f    amandcd     t-hF orlidelines.                               the    Court                  has
            hr..,apded               with  q F n rrnr.ino  in   this                            matter   and                  has
            sentenced the defendant using the 18:1 powder/crack
            ratio    mandaEed by the Act.     The Court expliciEly
            states    Ehat the sentence imposed accounls for Ehe
            reduct.ion in the disparity     between powder cocaine
            and crack cocaine and the defendant        wil-l not be
            entitled    Co furEher reducLion should the Commission
            determine     that  the guideline   amendments brought
            ^h.'rrf h\/ fhF A.t should be retroactive.

 In denying                sanders'               most recenL motion to reduce his                                           sentence,

 ,Judge Edenfield                        explained           once again                  t.hat he had conducted                                a

 downward                variance                 to      reflect             the           t.hen-present                    disparity

 between             cocaine             base          and cocaine              hydrochloride.                               (order          of

 February              L3, 2015, doc, no.                        1117,)                 The original-                 senLence of

 134 months fal-fs                       within            the new guideline                         range of           108 co 135

 months.               Upon consideration                        of       the l-8 u. s. c.                     s 3553 f actors

 and       j-he ,'sner-i f i e circumstanceS                             nf    1 -h i   a    n=rr-    i nrrl   ir     .laf    ar/l.l.lr.        ,,



 4t   LI
             frrr.r-har             re,,lrrnt-     inrr       ,Tlrd.ra         Fdenfield                   n6fed                i<         r'lcll-


 .hh.l.^nri:fa                      / T,'l    I


            sanders presently                             asks the presiding                         judge          to reconsider

 his       sentence                in both motion              filed          March l-9, 2015, and a l-etter

 written            to      Judge Edenfield                    on April-                8,     2015.            sanders              first

 believes             that         his       amended guideline                      range should                    be lower           than

 108 to           l-35 months.                     He reasons             that          because Judqe Edenf iel-d

 senLenced him at                            an offense          level-         of       30 (in          giving              him a 134
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 month sentence)                        as opposed to                  32, he should                    now be senLenced

 at a 1eveI of                     28 to get the benefit                              of        the two-Level            offense

 leve]      reducLion                  afforded           by Amendmeng782 Lo the United                                    States

 sentencing                  Guidelines.                   Sanders'              argument              misses        the        point

 that       he has already                        been given               the          Ewo-leve1             offense           level

 reducLion              afforded                 by      Amendment 782                          aE    the         time     of     his

 oriqinal-         sentsencing.

            The Eleventh                    Circuit             has directed                    a two-sEep process                  in

 ruling          on a Section                   3582(c) motion in United                                States v. Bravo,

 203 F.3d.778,                     7 8 0 ( l - l - t hc i r .    2000).              First,           the district              court

 must recalcufatse                       t.he defendant's                  sentence by "substituting                              the

 amended guideline                          range         for     the originally                      applied        guideline

 l.erlc'c          Td        -     Tn     oihF7.       \^'.'\1.de      \\t-ha        .-.rrrrf     Shal1       determine           the
             "     =t+:


 amended guideline                         range that             woul-d have been applicabl-e                              to the

 defendant              if        the      amendment                             had been in                  effect       at     tshe

 time the defendan! was sentenced."                                                  U.S.S.G.           S 181.10(b) (1)

 Here,           had         lhe        amendment               been        in         effect           at        tshe tsime       of

 sentencing,                     sanders'            guideline              range               would        be    1-08 to        1_35

 months with                     an offense            level        of     30, not 28.

            Second,                the         district              court              must          then         employ         its

 discretj-on,                     in     light          of       the       Section                3553 (a)          sentsencing

 factors,              to        determine              whether            to        resentence               tshe defendant

 under the amended quideline                                      range.                Id.      at     781.        As stated,

 ,Iudge      Edenfield                    determined                that         a      lower         sentence           was      not

 warranLed.                      The presiding                  judge       will           not       second guess ,Judge
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 Edenfield's                 estimaLion        of      this         Defendant              and his            particular

 circumsEances.                    Thus,        there          will            be     no      further          reduction

 within            t.he new guideline               range.

             Tn     his       Icffcr         SandFrs           elc.|           rc.trrFsf s        that        lhe        Court


 recommend a                  residential-           treatment                  program               for     his        "drug

 abuse, " notj-ng thaE the Presentence                                         Investsigation                Report       "did

 not        fully      convey the            severity          of        the        impact       of    drug abuse in

 my case."                  (Doc. No. ff20.l             In 2010, Sanders reported                                      to the

 UniLed States                 ProbaEion office                 thaE he used marihuana                              for    two

 months            and cocaine         hydrochloride                     for        one year          when he was 20

 years        o1d and had noL used drugs since                                      that      time.          Sanders was

 29 years            old      at   the    time.          It.        is        not    only        incredulous              Lhat

 Sanders would al-Low a statement                               that           he had been drug-free                       for

 the preceding                 nine years        to stand                if     incorrect,              but even more

 so     thaL          he      would      wait        five           more            years        to         profess        its

 inaccuracy.                 rn short,        sanders'          request              in this          regard        borders

 upon             ludicrous,           and      this          Court             will          noE           recommend            a

 residential                 t.reatment       proclram for                Sanders.

             Upon the foregoing,                 Sanders'                motions           for    re cons 1cleraE 10n

 (doc. nos.                 l-l-l-9 and 1120) are DENIED.
                                                                                                      <-?           u
             ORDEREMTEREDat Augusta,                            Georgia,               this            2-=K                6^
 ^f    .T    na      ,nlq




                                                                              TED S                   DISTRICT          JUDGE
